                         No. 2023-1805
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        United States Court of Appeals
            for the Federal Circuit
                 ______________________________
              UNITED THERAPEUTICS CORPORATION,
                            Appellant,
                              – v. –
                  LIQUIDIA TECHNOLOGIES, INC.,

                            Appellee.
                 ______________________________

APPEAL FROM THE UNITED STATES PATENT AND TRADEMARK
   OFFICE, PATENT TRIAL & APPEAL BOARD, IPR2021-00406
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                  NOTICE OF CORRECTION
                 ______________________________
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     Appellant United Therapeutics Corporation’s (“UTC”) Reply Brief

in the above-captioned case was filed on October 11, 2023 (Dkt. 29). In

light of the corrections made to UTC’s Opening Brief (Dkt. 39) and

Liquidia’s Responsive Brief (Dkt. 45), UTC is filing a corrected version of

its Reply Brief and delineates each correction below:

  Page                Original                     Corrected
TOA (iv),   35 U.S.C. 112                  35 U.S.C. § 112
32          Added text
5           BB36                           BB34
5           BB32, 36                       BB30, 34
11          BB32-38                        BB30-36
12          BB27, 38-39                    BB25-26, 36-37
18          BB47                           BB45
19          Added text                     (RB17)
21          BB49-50                        BB48
22          BB46-47                        BB44-45
24          Added text                     (id.)
24          Id.                            Appx3186
26          (RB49)                         Removed text
28          BB23, 68                       BB22, 66
30          BB53-54                        BB51-53
31          BB54                           BB52
31          BB58                           BB56-57
31          BB55-56                        BB53-55
31          BB56                           BB54
31          BB53-54                        BB51-52
31          Added text                     (emphasis added)
32          BB59                           BB57
33          BB53-58                        BB51-56
33          differences between the        “differences between the
            prior art                      prior art”
            Added quotation marks
34          BB70                           BB68


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     No other changes have been made to the brief, other than to

indicate the date of filing and add “Corrected – November 2, 2023” to the

cover of the brief as required by Fed. Cir. R. 25(i)(2).

     Pursuant to the Federal Circuit Rule 25(i), Appellant files this

Notice of Correction and believes that no substantive changes were made.

                                      Respectfully submitted,

                                      /s/ Douglas H. Carsten
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                                      Adam W. Burrowbridge
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Dated: November 2, 2023




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                    CERTIFICATE OF SERVICE

     The undersigned counsel hereby certifies that on November 2, 2023,

the foregoing document was filed using the Court’s CM/ECF system,

which will send notice of such filing to all registered CM/ECF users.


Dated: November 2, 2023          /s/ Douglas H. Carsten
                                 Douglas H. Carsten




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